          Case 2:09-cr-00185-JAD-CWH               Document 237          Filed 10/14/10        Page 1 of 1




                                        UNITED STATES DISTRICT COURT

                                             DISTRICT OF NEVADA
     U SA



                           Plaintiftl

    VS.                                                              DistriotNo. 2:09-CR-l85-PMP-LRL


   Bradley etal
                          Defendant.

                             ORDER TEM PORARILY UNSEALING TR
                                                                         ANSCW PT

         Ou October l3, 2010 thiscourtreceivedatra
 ofahearingsheld onS                              nscriptorderdatcd Octobcr13 2010 requestingtranscripts
                                                                             ,
                     eptember25,2009,October23, 2009,January 26
 fordefendant inwhich portionsofthehearingsweresealed             , 2010,hom M r. M arioValencia atlorney
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         IT IS THE ORDER OF THE COURT
                                              thatthesealed kanscriptsshallb
 iimitedpurposeofproviding ac                                               eunsealedby theClerk forthe
                             opy ofthetranscriptasrequestedby M
                                                                 r.Valencia.

           IT IS FURTHER ORDERED thatth
                                           esealed eanscriptssballthereafterb
certiEedcopy ofthet'
                   ansoriptbedelivered to the Clerk pursuantto 28 U          eresealedby theClerk, anda
thisCourt.                                                          .S.C.,Section753* ),untilfurtherorderof


         IT IS FUR TH ER O RDER ED th
                                        atthereceivingparty shallnotdiscl
transcriptofttw procecdingt                                              osethesealedcontentsofthe
                          o anyone otilerthan therepresentativesofth
                                                                    epartiesdirectlyconceraed witllthiseast.

          DATED this   1' ay oroctober,20l0   .




                                                   hi' M . Pro
                                                  United StatesDistriotJudge
